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March 16, 2015 DENBEAUX

 

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Via Electronic Filing Soe ee ys ta Benet
Joshua W. Denbeaux* »
Clerk, United States District Court for the District of New Jersey nee ee
Martin Luther King Jr. Federal Building & U.S. Courtheuse Salvador Sanchez**
50 Walnut Street Richer ined ae
ima Ashtyani
Newark, NJ 07102 Of Counsel
Abigail D. Kahl*
‘ ; Meghan Chrisner-Keefe
Re: TamiLynn Willoughby v. Zucker, Goldberg & Ackerman, LLC, et al. o Mark P. Denbeaux*
Civil Action No.: 2:13-cv-07062 (FSH) *Admitted in NJ and NY
i ** Admitted in NJ and CA
Dear Sir/Madam:

This firm represents the Plaintiff in the above-referenced matter.

Please let this letter serve as an adjournment of Defendants AMS Servicing, LLC, DB50
2007-1 and FRT 2011-1 Trust’s Motion to Dismiss the Complaint pursuant to the dictates
of Local Civil Rule 7.1(d)(5). The Motion was originally filed on February 27, 2015, and-
it was noticed for April 6, 2015. Pursuant to this notice, the Motion is now adjourned to
April 20, 2015. The originally noticed motion day has not Dee previously extended or

adjourned.
Thank you.
Very truly yours,

DENBEAUX & DENBEAUX

/s/ Joshua W. Denbeaux
By: Joshua W. Denbeaux, Esq.
Attorneys for Plaintiff TamiLynn Willoughby
